RDT-07000f58983

|N THE UNITED STATES DlSTRlCT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSEE
EASTERN DlVlSION

 

CANAL |NSURANCE COMPANY,
Plaintiff,

vs.
No. 1-05-1085-TlAn
N.L. MONTGOMERY AND SON
SAWMILL, !NC., M|KE R|LEY, JR.,
MIKE R|LEY, SR., OLD SOUTH
FRE|GHT SERV|CE, INC., RUBY
BROWN, and AN|ER|CAN

AN| BASSADOR CASUALTY CO., as
lntervening Defendant,

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Defendants.

 

JO|NT PRGESS-EBRULE 16(b) SCHEDUL|NG ORDER

 

Pursuant to the scheduling conference Set by Written notice, the following dates are
established as the final dates for:

|NiT|AL DlSCLOSURES (RULE 26(a)(1)): September 6, 2005

JO|.N.ING PART|ES:

for P|aintiff: December 15, 2005
for Defendants: January 2, 2006

AMENDING PLEAD|NGS:

for Plaintiff: December 15, 2005
for Defendants: January 2, 2006

COMPLET|NG ALL DlSCOVERY: February 16, 2006

(a) REQUESTS FOR PRODUCT|ON, lNTERROGATORIES and
REQUESTS FOR ADM|SS|ONS: November 30, 2005

This document entered on the docket sheet in comoliance
with Rule 53 andr'or_?$ (a) FHCP on QB` 'EQ g- Q§ ©J

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(b) L-':xPERT Dlscr_osuRE (Rule 26(a)(2)):

(i) Plaintiff’s Experts: November 15, 2005
(ii) Defendants’ Experts: November 30l 2005
(iii) Supp|ementation under Rule 26(e): December12, 2005

(c) DEPOS|T|ON OF EXPERTS: December 30, 2005
FlLlNG DlSPOSlTlVE MOTIONS: l\/larch 16, 2006
FlNAL LISTS OF WITNESSES AND EXHiBiTS (Ruie 26{3)(3)):

(a) for Piaintiff: i\/lay 26, 2006
(b) for Defendants: June 12, 2006

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 2 days and is currently SET for NON-
JURY TRlAL on WEDNESDA¥, July 12, 2006 at 9:30 A.M. A joint pretrial order is due
on FR|DAY, JUNE 30, 2006. in the event the parties are unable to agree on a joint pretrial
order, the parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

interrogatories1 Requests for Production and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by the
deadline for completion of discovery. For example, if the FRCP allow 30 days for a party
to respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery.

Nlotions to compel discovery are to be filed and served by the discovery deadline
or within 30 days ofthe default or service of the response, answer, or objection which is the
subject ofthe motion ifthe default occurs within 30 days of the discovery deadline, unless
the time for filing of such motion is extended for good cause shown, or any objection to the
defauit, response, or answer shall be waived.

The parties are reminded that pursuant to Local Ruie 7(a)(1)(A) and (a)(t)(B), ali
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by
a proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. if a party believes

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that a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required

The parties may consent to a trial before the i\/lagistrate Judge. The i\/lagistrate
Judge can normally provide the parties with a definite trial date that will not be continued
unless a continuance is agreed to by all parties, or an emergency arises which precludes
the matter from proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discovegg.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates as set by this Order will not be modified
or extendedl

lT iS SO ORDERED.

S. THOMAS ANDERSON
UN|TED STATES MAG|STRATE JUDGE

Date: @u.¢j' zlvl. ZQ)J/

APPROVED FOR ENTRY:

R. DALE 'THoMAs, #13439

DAN|EL E. KlNG, #23730
Attorneys for Plaintiff Canai insurance Company

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Attorneys for intervening Defendant American
Ambassador Casualty Co.

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Service, inc.

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CERT|F|CATE OF SERV|CE

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The undersigned certifies that a true copy of this pleading or document was served

upon the following attorneys or parties by mailing postage prepaid:

l\/like Riley, Sr. i\/like Ri|ey, Jr.
430 E. Poplar Drive 96 Sugar Tree School Road
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This the / day ofAugust,zoos. 0 §§
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DlSTRlCT oURT W

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 1:05-CV-01085 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

ESSEE

 

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Honorable .1 ames Todd
US DlSTRlCT COURT

